      Case 4:22-cv-00212-MW-MJF Document 15 Filed 06/22/22 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

                                             Case No.: 4:22-cv-212-MW-MJF
B.T., by and through her Next Friend,
Robin T.; and A.G., by and through
his Next Friend, Susel S.,

      Plaintiffs,

v.

SIMONE MARSTILLER, in her
official capacity as Secretary for the
FLORIDA AGENCY FOR HEALTH CARE
ADMINISTRATION,

      Defendant.
                                             /

            CONSENT MOTION FOR AN EXTENSION OF TIME
               TO RESPOND TO AMENDED COMPLAINT

      Defendant Simone Marstiller, in her official capacity as Secretary of the

Agency for Health Care Administration (“AHCA”), pursuant to Rule 6(b)(1)(A) of

the Federal Rules of Civil Procedure and Local Rules 6.1 and 7.1, files this Consent

Motion for Extension of Time to Respond to the Amended Complaint, and in support

thereof states as follows:

      1.     The initial complaint in this action (ECF No. 1) was filed on June 3,

2022, and was served on June 7, 2022. The complaint was subsequently amended

on June 16, 2022, naming an additional plaintiff (ECF No. 10, “First Amended


                                         1
      Case 4:22-cv-00212-MW-MJF Document 15 Filed 06/22/22 Page 2 of 4




Complaint” or “Complaint”). By operation of Rule 15(a)(3), response to the

Complaint is due June 30, 2022.

      2.     Although the Complaint only involves two Medicaid recipients, AHCA

anticipates that vetting the Complaint’s allegations will entail considerable

investigation, and into matters outside of AHCA’s direct control. The Plaintiffs are

enrolled in different managed care plans under contract with AHCA. These managed

care plans have contracted with the third-party entity, Health Network One, that is

identified in the Complaint’s allegations, which has, in turn, contracted with

providers of the relevant services. Further, AHCA was not provided with sufficient

information from which it could determine the identity of the newly added Plaintiff,

identified in the Complaint as A.G., until yesterday, June 21, 2022.

      3.     Consequently, AHCA respectfully requests that the Court extend

AHCA’s deadline to respond to the Complaint by twenty days, to and including July

20, 2022, to provide AHCA sufficient time to investigate the Complaint’s allegations

and prepare a response.

      4.     The request is made in good faith and not for purposes of delay. The

requested extension will not prejudice the Plaintiffs, nor will it unduly delay the

proceedings in this case. Moreover, the Plaintiffs do not oppose the extension.

      5.     The Court has the authority under Rule 6(b)(1)(A) of the Federal Rules

of Civil Procedure to enlarge AHCA’s time to answer for good cause. The standard


                                         2
      Case 4:22-cv-00212-MW-MJF Document 15 Filed 06/22/22 Page 3 of 4




of “good cause” is a liberal one, and “an application for the enlargement of time

under Rule 6(b)(1) will normally be granted in the absence of bad faith on the part

of the party seeking relief or prejudice to the adverse party.” 4B Charles Alan

Wright, et al., Federal Practice & Procedure § 1165 (3d ed. 2002).

      6.    AHCA submits that the reasons stated above constitute good cause for

this extension. The requested extension is necessary to provide AHCA with

sufficient time to investigate the allegations of the Complaint, which will include

investigation into matters outside of AHCA’s immediate control.

      WHEREFORE, AHCA respectfully requests that the Court enter an order

granting AHCA the requested extension of time to serve its response to the

Complaint, to and including July 20, 2022.

      DATED this 22nd day of June, 2022.

                                             Respectfully submitted,

                                             /s/ Erik M. Figlio
                                             ERIK M. FIGLIO
                                             Florida Bar No.: 0745251
                                             ALEXANDRA E. AKRE
                                             Fla Bar No. 125179
                                             Ausley & McMullen, P.A.
                                             Post Office Box 391
                                             Tallahassee, FL 32301
                                             (850) 224-9115
                                             rfiglio@ausley.com
                                             aakre@ausley.com

                                             ATTORNEYS FOR DEFENDANT


                                         3
      Case 4:22-cv-00212-MW-MJF Document 15 Filed 06/22/22 Page 4 of 4




            CERTIFICATE PURSUANT TO LOCAL RULE 7.1(B)

      Pursuant to Local Rule 7.1(B), undersigned counsel conferred with counsel for

the Plaintiff prior to filing this motion. As set forth in the motion, counsel for the

Plaintiff has consented to the extension of time to respond to the Complaint requested

by AHCA.


                         CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing has been filed
electronically via the CM/ECF System on this 22nd day of June, 2022.



                                       /s/ Erik M. Figlio
                                       Erik M. Figlio




                                          4
